UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
                                                         )
In re:                                                   )   Chapter 11 Case
                                                         )
THE DIOCESE OF BUFFALO, N.Y.,                            )   Case No. 20-10322
                                                         )
                                                 Debtor. )
                                                         )


                           JOINT NOTICE OF HEARING TO
                     CONSIDER PROFESSIONAL FEE APPLICATIONS


         PLEASE TAKE NOTICE, that each of (i) Bond, Schoeneck & King, PLLC, counsel for

The Diocese of Buffalo, N.Y., (the “Diocese”); (ii) Blank Rome, LLP, special insurance counsel for

the Diocese; (iii) Phoenix Management Services, LLP, financial advisors for the Diocese; (iv) The

Tucker Group, LLC, communications consultant for the Diocese; (v) Connors, LLP, special counsel

for the Diocese; (vi) Gibson, McAskill & Crosby LLP, special counsel for the Diocese; (vii)

Chelus, Herdzik, Speyer & Monte PC, special counsel for the Diocese; (viii) Insurance

Archaeology Group, Insurance Archaeologist for the Diocese; (ix) Jones Day, special counsel for

the Diocese; (x) Bonadio & Co., LLP, accountants for the Diocese; (xi) Hodgson Russ, LLP,

special counsel for the Diocese; (xii) Pachulski Stang Ziehl & Jones LLP, counsel for the Official

Committee of Unsecured Creditors; and (xiii) Gleichenhaus, Marchese & Weishaar, PC, co-counsel

to the Official Committee of Unsecured Creditors, have filed applications (each, an “Application”)

for interim allowance and payment of professional fees and expenses incurred in the above-

captioned case. The amounts of fees and expenses requested by the foregoing professionals on an

interim basis pursuant to the Applications are as follows:




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                                             Fees           Expenses                     Application
Applicant
                                             Requested      Requested     Total          Period
Bond, Schoeneck & King, PLLC                                                             9/1/21 –
                                             $694,027.50      $3,879.54   $697,907.04
Counsel for the Diocese                                                                  1/31/22
Blank Rome, LLP                                                                          9/1/21 –
                                             $280,329.12          $0.00   $280,329.12
Special Counsel for the Diocese                                                          1/31/22
Phoenix Management Services, LLP                                                         9/1/21 –
                                              $32,182.50          $0.00    $32,182.50
Financial Advisors for the Diocese                                                       1/31/22
The Tucker Group, LLC                                                                    9/1/21 –
                                              $50,000.00        $612.67    $50,612.67
Communications Consultants for Diocese                                                   1/31/22
Connors, LLP                                                                             8/1/21 –
                                             $438,510.00    $26,077.60    $464,587.60
Special Counsel for the Diocese                                                          1/31/22
Gibson, McAskill & Crosby LLP                                                            8/1/21 –
                                                $2,082.50         $0.00      $2,082.50
Special Counsel for the Diocese                                                          1/31/22
Chelus, Herdzik, Speyer & Monte PC                                                       10/1/21 –
                                              $16,734.50      $1,216.07    $17,950.57
Special Counsel for the Diocese                                                          1/31/22
Insurance Archaeology Group Insurance                                                    9/1/21 –
                                                $2,245.00         $0.00      $2,245.00
Archaeologist for the Diocese                                                            1/31/22
Jones Day                                                                                9/1/21 –
                                             $499,869.00      $8,251.23   $508,120.23
Special Counsel for the Diocese                                                          1/31/22
Bonadio & Co., LLP                                                                       1/1/21 –
                                              $56,700.00          $0.00    $56,700.00
Accountants for the Diocese                                                              1/31/22
Hodgson Russ LLP                                                                         9/1/21 –
                                              $12,127.20      $1,394.98    $13,522.18
Special Counsel for the Diocese                                                          1/31/22
Pachulski Stang Ziehl & Jones LLP                                                        6/1/21 –
                                             $456,591.00      $6,563.65   $463,154.65
Counsel for Creditors’ Committee                                                         1/31/22
Gleichenhaus, Marchese & Weishaar, PC                                                    6/1/21 –
                                             $127,129.00      $2,373.15   $129,502.15
Co-Counsel for Creditors’ Committee                                                      1/31/22


        PLEASE TAKE FURTHER NOTICE, that a hearing to consider the Applications will be

held before the Honorable Carl L. Bucki, Chief United States Bankruptcy Judge for the Western

District of New York, at the Robert H. Jackson U.S. Courthouse, 2 Niagara Square, Buffalo, New

York, on the 1st day of June, 2022 at 10:00 a.m., or as soon thereafter as counsel can be heard.

        PLEASE TAKE FURTHER NOTICE, that responses in opposition to the relief requested

in the Applications, if any, must be served upon (i) counsel for the Diocese, Bond, Schoeneck &

King, PLLC, One Lincoln Center, Syracuse, New York 13202 (Attn: Stephen A. Donato, Charles

J. Sullivan and Grayson T. Walter); (ii) the Office of the United States Trustee for the Western New

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York, 300 Pearl Street, Suite 401, Buffalo, New York 14202 (Attn: Joseph Allen); and (iii) the

respective applicant(s) at the address(es) set forth on the attached schedule, in accordance with the

Local Rules of Bankruptcy Procedure for the Western District of New York.


Dated: April 25, 2022
       Syracuse, New York                    BOND, SCHOENECK & KING, PLLC


                                     By:             /s/ Stephen A. Donato
                                             Stephen A. Donato, Esq.
                                             Charles J. Sullivan, Esq.
                                             Grayson T. Walter, Esq.
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                                                      csullivan@bsk.com
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                                             Attorneys for The Diocese of Buffalo, N.Y.




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                                SCHEDULE OF APPLICANTS


Bond, Schoeneck & King, PLLC                Blank Rome, LLP
Attn: Stephen A. Donato                     Attn: James Murray
One Lincoln Center                          1825 Eye Street NW
Syracuse, New York 13202                    Washington, DC 20006

Phoenix Management Services, LLP            The Tucker Group, LLC
Attn: Richard Szekelyi                      Attn: Gregory W. Tucker
1382 W. 9th Street, Suite 310               3811 Canterbury Road
Cleveland, Ohio 44113                       Baltimore, Maryland 21218

Connors, LLP                                Gibson, McAskill & Crosby LLP
Attn: Randall D. White                      Attn: Robert G. Scumaci
1000 Liberty Building                       69 Delaware Avenue, Suite 900
Buffalo, New York 14202                     Buffalo, New York 14202

Chelus, Herdzik, Speyer & Monte PC          Insurance Archaeology Group
Attn: Thomas J. Speyer                      Attn: Michele Pierro
Main Court Building                         75 Orient Way, Suite 302
438 Main Street, Tenth Floor                Rutherford, New Jersey 07070
Buffalo, New York 14202

Jones Day                                   Bonadio & Co., LLP
Attn: Benjamin J. Thomson                   Attn: Justin Reid
250 Vesey Street                            100 Corporate Parkway, Suite 200
New York, New York 10281                    Amherst, New York 14226

Hodgson Russ LLP                            Pachulski Stang Ziehl & Jones LLP
Attn: James C. Thoman                       Attn: Ilan D. Scharf
140 Pearl Street, Suite 100                 780 Third Avenue, 34th Floor
Buffalo, New York 14202                     New York, New York 10017

Gleichenhaus, Marchese & Weishaar, PC
Attn: Scott J. Bogucki
43 Court Street
930 Convention Tower
Buffalo, New York 14202-3100




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